      Case: 4:09-cr-00066-MPM-DAS Doc #: 96 Filed: 09/02/09 1 of 1 PageID #: 211




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                           CRIMINAL ACTION NO. 4:09CR06-P-S

TYPHRON ARMSTRONG,                                                          DEFENDANT.

                                             ORDER

        This matter comes before the court upon Defendant Typhron Armstrong’s second motion to

continue trial [89]. After due consideration of the motion, the court finds that it should be denied

since the court recently granted co-Defendant Turner’s motion to continue.

        IT IS THEREFORE ORDERED AND ADJUDGED that Defendant Typhron Armstrong’s

second motion to continue trial [89] is DENIED as moot.

        SO ORDERED this the 2nd day of September, A.D., 2009.

                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE
